                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )      Criminal No. 2:12-00006
                                                     )      Judge Trauger
                                                     )
[1] LINDA KAY POWELL                                 )

                                           ORDER

         It is hereby ORDERED that this case is set for a change of plea hearing on Friday,

November 2, 2012, at 1:30 p.m.

         It is so ORDERED.

         ENTER this 30th day of October 2012.




                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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